
*1006Appeals taken by Williams Real Estate Co., Inc., Federal Signal Corporation, Kleinberg Electric, Inc., Edwards &amp; Zuck, P. C., National Cleaning Contractors, Inc., Central Elevator, Inc., Hewlett Packard, Inc., Total Energy Control Systems, Inc., Airvel Corp., Peat, Marwick, Mitchell &amp; Co., and Sidney W. Barbanel dismissed, without costs, by the Court of Appeals sua sponte, upon the ground that the order of the Appellate Division upon which jurisdiction is predicated does not grant said appellants leave to appeal to the Court of Appeals.
Judge Titone taking no part.
